JS44C/SDNY Case 1:18-cv-10664-ER-OTW civaccowEr SHEBEC 11/15/18 Page 1 of 2
REV. 06/01/17

The JS-44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or
other papers as required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the
United States in September 1974, is required for use of the Clerk of Court for the purpose of initiating the civil docket sheet.

PLAINTIFFS
Bernabe Sanchez Gonzalez

DEFENDANTS
Tribeca Hummus Inc. d/b/a Nish Nush, Eyal Hen, Eyal Asulin, and Shai Sudai

ATTORNEYS (FIRM NAME, ADDRESS, AND TELEPHONE NUMBER
Hang & Associates, PLLC

136-20 38th Ave., Suite 10G

Flushing, NY 11354, (718)353-8588

CAUSE OF ACTION (CITE THE U.S. CIVIL STATUTE UNDER WHICH YOU ARE FILING AND WRITE A BRIEF STATEMENT OF CAUSR
(DO NOT CITE JURISDICTIONAL STATUTES UNLESS DIVERSITY)

ATTORNEYS (IF KNOWN)

Judge Previously Assigned
Has this action, case, or proceeding, or one essentially the same been previously filed in SDNY at any time? No MWyesQ]

If yes, was this case Vol.[_] Invol. [7] Dismissed. No[_] Yes [-] If yes, give date & Case No.
Is THIS AN INTERNATIONAL ARBITRATION CASE? No [x] Yes [_]
(PLACE AN [x] IN ONE BOX ONLY) NATURE OF SUIT
TORTS ACTIONS UNDER STATUTES
CONTRACT PERSONAL INJURY PERSONAL INJURY FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES
[ 1367 HEALTHCARE! 375 FALSE CLAIMS
[]110 INSURANCE [ 1310 AIRPLANE PHARMACEUTICAL PERSONAL | 1695 DRUG RELATED { 1422 APPEAL 0]
[]120 MARINE [ ]31S AIRPLANE PRODUCT INJURY/PRODUCT LIABILITY geizuRE OF PROPERTY 28 USC 158 [ 1976 QUITAM
[]130 MILLER ACT LIABILITY [ ]365 PERSONAL INJURY 24 USC B81 { ]423 WITHDRAWAL [ ]400 STATE
[ 140 NEGOTIABLE [ ]320 ASSAULT, LIBEL & PRODUCT LIABILITY 1 1690 OTHER 28 USC 157 REAPPORTIONMENT
INSTRUMENT SLANDE | ]368 ASBESTOS PERSONAL [ ]410 ANTITRUST
[ 150 RECOVERY OF —_[ ] 330 FEDERAL INJURY PRODUCT [ ]430 BANKS & BANKING
OVERPAYMENT & EMPLOYERS’ LIABILITY PROPERTY RIGHTS [ ]450 COMMERCE
ENFORCEMENT LIABILITY [ }460 DEPORTATION
OF JUDGMENT [| ] 340 MARINE PERSONAL PROPERTY | 1820 COPYRIGHTS [ ]470 RACKETEER INFLU-
[ 4151 MEDICARE ACT [1345 MARINE PRODUCT [ ]@30 PATENT ENCED & CORRUPT
[ 152 RECOVERY OF LIABILITY [ ]370 OTHER FRAUD ORGANIZATION ACT
DEFAULTED [ 1350 MOTOR VEHICLE []371TRUTHIN LENDING — { 1835 PATENT-ABBREVIATED NEW DRUG APPLICATION (RICO)
STUDENT LOANS [ ]355 MOTOR VEHICLE [ ]840 TRADEMARK [ ]480 CONSUMER CREDIT
(EXCL VETERANS) PRODUCT LIABILITY SOCIAL SECURITY []490 CABLE/SATELLITE TV
{ 1153 RECOVERY OF — [ ] 360 OTHER PERSONAL
OVERPAYMENT INJURY [ ]380 OTHER PERSONAL — LABOR [ ]861 HIA (139581) [ }850 SECURITIES/
OF VETERAN'S —_[ ] 362 PERSONAL INJURY - PROPERTY DAMAGE { ]862 BLACK LUNG (923) COMMODITIES/
BENEEITS MED MALPRACTICE [ ]385 PROPERTY DAMAGE __ [xq] 710 FAIR LABOR { ]863 DIWC/DIWW (405(a)) EXCHANGE
[]160 STOCKHOLDERS PRODUCT LIABILITY STANDARDS ACT _[ ]864 SSID TITLE XVI
SUITS | ]720 LABORIMGMT [ 1865 RSI (405(g))
[]190 OTHER PRISONER PETITIONS RELATIONS [ 1890 OTHER STATUTORY
CONTRACT [ ] 463 ALIEN DETAINEE [ ]740 RAILWAY LABOR ACT ACTIONS
[]195 CONTRACT [ ]510 MOTIONS TO |} 751 FAMILY MEDICAL FEDERAL TAX SUITS [ }891 AGRICULTURAL ACTS
PRODUCT ACTIONS UNDER STATUTES VACATE SENTENCE | eave ACT (EMLA)
LIABILITY 28 USC 2255 [ 1870 TAXES (U.S. Plaintiff or
[ ]196 FRANCHISE CIVIL RIGHTS [ ] 530 HABEAS CORPUS [ ]790 OTHER LABOR Defendant) [ ]893 ENVIRONMENTAL
[ ]535 DEATH PENALTY LITIGATION [ ]877 IRS-THIRD PARTY MATTERS
[ ]S40 MANDAMUS & OTHER [ ]791 EMPL RET INC 26 USC 7609 895 FREEDOM OF
(1440 Ne Priconenwons SECURITY ACT (ERISA) eee F NEORMATION ACT
REAL PROPERTY tae vote itaigraTion [ ] 896 ARBITRATION
[]210 LAND [ ]442 EMPLOYMENT PRISONER CIVIL RIGHTS { OC SAUNA TReIEW OF
CONDEMNATION = [ ] 443 HOUSING/ [ ] 462 NATURALIZATION F AGENCY DECISIO
[]220. FORECLOSURE (1485 AASCOMMODATIONS | | §50 CIVIL RIGHTS APPLICATION APPEAL OF AGEN
[]230 RENTLEASE& [ ]§55 PRISON CONDITION _[ ]465 OTHER IMMIGRATION
EJECTMENT DISABILITIES - [ ] 560 CIVIL DETAINEE ACTIONS ie Sonu ES ONALITY °
{]240 TORTS TO LAND EMPLOYMENT CONDITIONS OF CONFINEMENT
[ ]245 TORTPRODUCT [ ]446 AMERICANS WITH
LIABILITY DISABILITIES -OTHER
[ }290 ALL OTHER { ]448 EDUCATION
REAL PROPERTY

Check if demanded in complaint:

DO YOU CLAIM THIS CASE IS RELATED TO A CIVIL CASE NOW PENDING IN S.D.N.Y.
AS DEFINED BY LOCAL RULE FOR DIVISION OF BUSINESS 13?

IF SO, STATE:

 

CHECK IF THIS IS ACLASS ACTION
UNDER F.R.C.P. 23

 

 

 

DEMAND $ OTHER JUDGE DOCKET NUMBER

 

Check YES only if demanded in complaint

JURY DEMAND: [Yes ENO NOTE: You must also submit at the time of filing the Statement of Relatedness form (Form |H-32°

 
Case 1:18-cv-10664-ER-OTW Document1 Filed 11/15/18 Page 2 of 2

(PLACE AN x IN ONE BOX ONLY) ORIGIN
[X] 1 Original [_]2 Removed from [-]3 Remanded [| 4 Reinstated or [_] 5 Transferred from [] 6 Multidistrict [17 Appeal fo District
Proceeding State Court from Ri ed (Specify District) Litigation wecetate,
eopen (Transferred) Magistrate Judge

Appellate
C] a. all parties represented = Court

Cr] 8 Multidistrict Litigation (Direct File)
[] b. Atleast one party

is pro se.
(PLACE AN x IN ONE BOX ONLY) BASIS OF JURISDICTION IF DIVERSITY, INDICATE
[]1 U.S. PLAINTIFF [[]2 U.S. DEFENDANT [X] 3 FEDERAL QUESTION (]4 DIVERSITY CITIZENSHIP BELOW.

(U.S. NOT A PARTY)

CITIZENSHIP OF PRINCIPAL PARTIES (FOR DIVERSITY CASES ONLY)

(Place an [X] in one box for Plaintiff and one box for Defendant)

PTF DEF PTF DEF PTF DEF

CITIZEN OF THIS STATE {]1 []1 CITIZEN OR SUBJECT OF A []3[]s3 INCORPORATED and PRINCIPAL PLACE []5 []5
FOREIGN COUNTRY OF BUSINESS IN ANOTHER STATE

CITIZEN OF ANOTHER STATE []2 []2 INCORPORATED or PRINCIPAL PLACE []4[ ]4 FOREIGN NATION []6 [16

OF BUSINESS IN THIS STATE

PLAINTIFF(S) ADDRESS(ES) AND COUNTY(IES)
Bernabe Sanchez Gonzalez

Brooklyn, New York
Kings County

DEFENDANT(S) ADDRESS(ES) AND COUNTY(IES)

Tribeca Hummus Inc. d/b/a Nish Nush, Eyal Hen, Eyal Asulin, and Shai Sudai
88 Reade Street,

New York, NY 10013

New York County

DEFENDANT(S) ADDRESS UNKNOWN

REPRESENTATION IS HEREBY MADE THAT, AT THIS TIME, | HAVE BEEN UNABLE, WITH REASONABLE DILIGENCE, TO ASCERTAIN
THE RESIDENCE ADDRESSES OF THE FOLLOWING DEFENDANTS:

COURTHOUSE ASSIGNMENT
| hereby certify that this case should be assigned to the courthouse indicated below pursuant to Local Rule for Division of Business 18, 20 or 21.

Check one: THIS ACTION SHOULD BE ASSIGNED TO: = [_] WHITE PLAINS [x] MANHATTAN

DATE 7/19/2018 SIGNATURE OF ATTORNEY OF RECORD ADMITTED TO PRACTICE IN THIS DISTRICT

] NO
[x] YES (DATE ADMITTED Mo. 11 Yr. 2017)
RECEIPT # s/ Lorena P. Duarte Attomey Bar Code #
Magistrate Judge is to be designated by the Clerk of the Court.
Magistrate Judge is so Designated.

 

Ruby J. Krajick, Clerk of Court by Deputy Clerk, DATED

UNITED STATES DISTRICT COURT (NEW YORK SOUTHERN)

 
